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                       UNITED STATES DISTRICT COURT
                       WESTERN DISTRICT OF LOUISIANA
                             MONROE DIVISION


STATE OF LOUISIANA ET AL                                CASE NO. 3:21-CV-03970

VERSUS                                                  JUDGE TERRY A. DOUGHTY

XAVIER BECERRA ET AL                                    MAG. JUDGE KAYLA D. MCCLUSKY


                            NOTICE OF MOTION SETTING WITHOUT DATE

       The Motion to Dismiss For Failure to State a Claim (Document No. 64) filed by Xavier Becerra,
Chiquita Brooks-Lasure, Centers for Medicare & Medicaid Services, U S Dept of Health & Human Services on
March 17, 2022 has been referred to Honorable Kayla D. McClusky.

                                                    Deadlines

        Any response to said motion is due by April 8, 2022. The movant may file a reply, without leave of
court, within seven (7) days after the response is filed. LR7.8 governs the length of briefs. Any party filing no
brief will be deemed not to oppose the motion. At the close of the briefing period, the record will be submitted
to the Magistrate Judge for consideration; a written ruling or recommendation will issue in due course.

                                               No Oral Argument

        It is the policy of the Court to decide motions on the basis of the record WITHOUT ORAL
ARGUMENT. Accordingly, responses and briefs should fully address all pertinent issues. Should the Court feel
oral argument is necessary, all parties will be notified.

                                                Courtesy Copies

      An electronic copy of the motion and all memoranda only (no attachments) shall be e-mailed in
WordPerfect or Word Format DIRECTLY to:

                           mcclusky_motions@lawd.uscourts.gov

       If attachments to the motion or response exceed 15 pages, paper copies of the attachments shall be
provided to chambers:

                               Hon. Kayla D. McClusky
                               United States Magistrate Judge
                               201 Jackson Street, Suite 201
                               Monroe, Louisiana 71201

ALL DEADLINES SET FORTH IN THE SCHEDULING ORDER SHALL REMAIN IN PLACE
UNLESS OTHERWISE ORDERED BY THIS COURT.

      If the parties resolve any matters raised in this motion, the moving party should immediately notify
chambers at (318) 654-6510.

DATE OF NOTICE: March 18, 2022

                                              TONY R. MOORE
                                              CLERK OF COURT
